914 F.2d 1386
    UNITED STATES of America, Plaintiff-Appellee,v.Ted H. KIMBALL, Defendant-Appellant.
    No. 87-1392.
    United States Court of Appeals,Ninth Circuit.
    Sept. 21, 1990.
    
      Prior report:  9th Cir., 896 F.2d 1218.
      Before GOODWIN, Chief Judge, BROWNING, WALLACE, HUG, TANG, SCHROEDER, FLETCHER, FARRIS, PREGERSON, ALARCON, POOLE, NELSON, CANBY, NORRIS, REINHARDT, BEEZER, HALL, WIGGINS, BRUNETTI, KOZINSKI, NOONAN, THOMPSON, O'SCANNLAIN, LEAVY, TROTT, FERNANDEZ and RYMER, Circuit Judges.
    
    ORDER
    
      1
      Upon the vote of a majority of nonrecused regular active judges of this court, it is ordered that this case be reheard by the en banc court pursuant to Circuit Rule 35-3.
    
    